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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


FRANCIS THOMAS,
    Plaintiff,

 -vs-                                         Case No. 5:15-CV-10783
                                              Hon. John Corbett O'Meara
                                              Magistrate Judge: Anthony P. Patti
ANDY AUTO SALES, INC., et al.
    Defendants.


                      STIPULATED ORDER OF DISMISSAL

         Having been advised by the parties that they have reached an agreement to

settle the above-captioned matter and upon the stipulation of the parties;

         IT IS HEREBY ORDERED that Plaintiff’s Complaint be dismissed as to all

Defendants, with prejudice, and without costs to any party; and

         IT IS FURTHER ORDERED that the court shall retain jurisdiction only for

the purpose of enforcing the settlement of this matter.



Date: July 17, 2015                           s/John Corbett O’Meara
                                              United States District Judge




Stipulated To By:
    5:15-cv-10783-JCO-APP   Doc # 22   Filed 07/17/15   Pg 2 of 3   Pg ID 117




/s/ Carl Schwartz                      /s/ Dalia R. Kejbou (w/consent)
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Dated: July 17, 2015
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                             Certificate of Service

      I, Carl Schwartz, hereby certify that this document, filed through the

“Utilities” tab of the CM/ECF system, will be e-mailed to the following counsel of

record:

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                                     Respectfully Submitted,

                                     LYNGKLIP & ASSOCIATES
                                     CONSUMER LAW CENTER, PLC


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Dated: June 3, 2015
